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           UNITED STATES
      COL~T OF FEDERAL CLAIMS


  Y~/kqtEE ATOMIC ELECTRIC COMPANY,

  CONNECTICUT     YANKEE    ATOMIC   POWER        Case Nos.:

  COMPA/~-Z, and ~L~INE YANKEE ATOMIC             98-126C
  .~O~R COMP.~IVY,                                98-154c

                   Plaintiffs,                    98-474C

           V.

  THE UNITED STATES,

                   Defendant.




  Pages:        3888 tb_rough 4106

  Place:        Washington,    D.C

  Date:         August   4, 2004


          ~[ERITAGE          REPORTING         CORPORATION
                              OJficial Reporters
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                                                                                3906
              Q.        What was the purpose           of the 1991 ACR?

     2        A.       It was to provide          the contract       holders    what

     3    would be the waste           acceptance    capacity   of the Federal

         Waste     Management     System    and to provide      them also with

  5       the allocations        that they will need for filling               out

  6       their delivery       commitment     schedules.

  7                    Were you involved          in the preparation       of the

  8       1991 ACR?

  9           A.

 I0          Qo        And ! believe        you’ve    already   said this,       but

 i!      which     office    within     DOE prepared     this document?

 12           A.        It was the Office of Civilian               Radioactive

 13      Waste Management.
 ~
 _
 1            Q.        Thank    you. Did the contracting             office    have

 15      any role in the preparation              of the 1991 ACK?

 16          A.         Yes, they had a minor role in the

 17      preparation        of the document.

 18          Qo        And what       was their     minor   role?

 19          A.        After    we had developed         a draft    version     of

 20      it, we sent it around            to several     organizations     for

 21      comment~     and I believe        they submitted       some minor

 22      comments     to us on the document           prior   to its being

 23      finalized.

 24          Q.         Was the 1991 ACR sent out by the

 25      contracting        officer?

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                                                                                                             3907
   1             A.            Yes~     it       was.     It    was     sent       out    to    all

          contract           holders        under        the    signature           of    the

          contracting            officer.

                 Q.            Mr.     Pollog,          could     ! direct          your       attention

   5      to    page      five    of    this        document,           please?          Mr.     Pollog,

   6      what     is    the     information              set    forhh        in    table        2.1    on

   7      page     five       of this        document?

   8             A.            These        are    the    projected            waste      acceptance

   9      rates       starting         in    1998        and    going     through             2007.

  l0             Q.            How    were        these    rates        developed?

  II             A.            They     were       based        primarily          on    the     Nuclear

  12      Waste       Policy      Amendments              Act    of     1987       and    restrictions

  13      placed        on    a monitored           retrievable               storage          system        in

  14      that     Act.

  15             Q.            Could        we    go to        Defendant’s          E~.ibit           23?

  16      Mr.    Po!!og,         you’ve          been     handed        what’s          been     marked       as

  17      Defendant’s            Exhibit          23.      Do     you    recognize             this

  18      document?

  19             A.           Yes,     I do.

  2O             Q.           Could     you       explain         to    the    Court          what     it    is?

  21             A.           Yeah,     it’s        an    action        memo       from        Ronald

  22      Milner,        who     is    the       associate         director             for    the     storage

  23      and    transportation                  division         at    that       time,        to    John

  24      Bartlett,           seeking        his     approval           for    the       publication              of

  25      the    1991        annual     capacity           report.

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                                                                                                                         3910
           1    1991      ACR         became          the    document             that     purchasers            would

           2   use     for       submittal              of    delivery             purchase           schedules.

~          3   The     prior          ones       were        more       for       information           and

       4       planning,              bus       this        one    was       the       document        that      the

       5       purchasers              would          use     to submit             their       delivery.

       6       commitment              schedules.

       7               Q.              Could          we pull           up    Plaintiffs’             Exhibit

       8       please?           Mr.        Po!!og,          do     you       recognize            what’s        been

       9       marked        as       Plaintiffs’                 Exhibit          52?

      i0               A.             Yes,       I do.

      !i             Q.               could       you        tell       the       Court      what      it    is,

      12       please?

      13               A.             it    is    the        1987       annual          capacity        report.

      14             Q.               Could       i direct              your       attention           to page         two

      15       of the        report,             that        second,          the       first      full      paragraph

      16       highliHhted                 or    brought            up.      Would        you      please        read    the

      17       portion           that’s          been        excerpted             from      the      document?

      18             A.               Yes.        "Beglnning                 in    1991,        the    ACR

      19       acceptance              ranking          will        be       converted           into       an   annual

      20       priority           ranking             for     receipt             of    SNF/HLW.            In   1992,

      21       based        on    this       priority              ranking,            the    purchasers           will

      22       submit        to       DOE       for    approval              delivery         commitment

      23       schedules              identifying                 the    SNF/HLW          that        purchasers

      24       propose           to    deliver          to        the    DOE       Waste      Management           System

      25       (WMS)

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                                                                    21
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                                                                             3911
                         Once approved,        these schedules      will become

    2       the basis for final delivery_            schedules   to be

   -3       submitted    by the purchasers          not less than 12 months

    4      before     the date of DOE’s anticipated           acceptance        of

    5       title    to the SNF/HLW      and subsequent      transport     to a

    6   " i .bOE facility.’;

    7           Q.           Mr. Pol!og, does the paragraph         you’ve just

    8      read comport        with your understanding        as to the role

           of the 199! ACR?

                         Yes, it does.

   Ii                    Was the document        that’s   been marked      as

   12      Plaintiffs’        Exhibit   52 provided    to standard     contract

   13      holders?

   14           A.        I believe so.

   15           Q.           can we have Defendant’s      E~hibit     18, please?

   16      Mr. Pol!og,        do you recognize      what’s   been marked        as

   17      Defendant’s        Exhibit   18?

   18           A.       Yes, I do.

   19           Q..          so could you tell the Court what this

  20       document     is?

  21            A.       This    document     is the 1990    annual   capacity

  22       report     that    was produced    by the Office      of Civilian

           ~adioactive        Waste Management.

  24           Q.        Direct    your attention      to page two of this

  25       document.     Could    you read     the portion    of the document

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                                                                                                                     3912
       !    that’s       been        highlighted               on    the     computer             screen?

       2           A.            Yes,       I can.           "As     specified              in    the    contract,

       3   the     ACR    is for           planning            p~rposes           only       and       thus     is    not

       4   contractually               binding           on     either           DOE    or       the

       5   purchasers.               The     standard              contract            states          that,

       6   beginning           in A pri!            1991,          the     ACR    is scheduled                 to    be

       7   replaced        by     the        annual          acceptance               priority          ranking

       8   report        for    receipt            of SN./HLW.

       9                       The     contract              further        states           that,       beginning

   i0      in    January         1992        and       based        on    the     acceptance             priority

   II      ranking,        the        purchasers               shall        submit          delivery

   12      commitment           schedules               to    DOE        identifying              the    range        of

  13       discharge           dates        of     the       SNF/B~W        that        the       purchasers

   14      propose        to deliver               to    the        Waste       Management              System."

   15             Q.            Thank        you.        And       just     so        the    record’s          clear,

   16      the    second        sentence            that       you        read        actually          reads,

   17      "the        standard        disposal              contract."                Mr.       Pollog,        the

  18       portion        of    the        document          that         you    just        read,       does        that

  19       comport        with       your        understanding                   as    to what          the     role

  20       of    the    1991     ACR       was?

  21              A.           Yes,     it       is.

  22              Q.           Was    this         document              provided           to    standard

  23       contract        holders?

  24              A.           Yes     , I believe                  this     document,             along        with

  25       all    other        ACRs,        were        provided           to    standard              contract

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                                                                                                              3913
         disposal         holders.

                Q.            Can       I direct         your        attention           to page          seven

         of Defendant’s                 Exhibit         187

                             MR.       STOUCK:          Your    Honor,           could     I just

 5       interpose           an     objection            for     the       record?        I’m        sorry        to

         interrupt.            We’ll        take        this    up     bn    cross-examination.

 7       Mr.    Pollog        was       asked      at     deposition,              "Do    you        recall

 8       having        any    work~or            having        any    involvement               in    the

 9       preparation              of    the      1990     ACR    that        preceded           that?

!0                            A/%       wet:     T don’t         b~l_~~e           so.

ll                           So     our    objection            is    the     testimony              should        be

12       limited        to    reading            from     the    documents,              but     we’ll        take

13       it up       on cross-examination.

14                           THE       COURT:      Okay.         You       may     continue,

15      Ms.     Sullivan.

16                           MS.       SULLIVAN:         Than]{        you,        Your    Honor.

17       BY MS.        SULLIVan:

18             Q.            Mr.       Pol!og,      do    you        see    page     seven           of     the

19      1990     ACR?

2O                           Yes,       I do.

21             Q.            I believe           you     testified            as    to    a difference

22      in     rates      between          the     1990        ACR     and    the        1991        ACR.     Were

23      these       the      rates        that     you    were        discussing           earlier?

24             A.            Yes,       they     are.

25             Q.            ~md       I believe         you     talked          about     the        lower

                              Herita
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                                                             3915
   1       it says 400, 600 and 900, to that rate and then just

   2       sum up what every purchaser’s             allocation     would be in

   3       any given      year and put them into this table.

                  Q.       Could we highlight        the line for Yankee

   5      Atomic       on the table,     please?     Mr. Po!log,     if we could

           look at the line for Yankee             Atomic    Electric     Company.

   7       Is 9.8 the MTU allocation             for Yankee    Atomic     in year

   8       one?

   9              A.      Yes, it is.

  l0          Q.          ~d similarly,     is 10.1      the MTU allocation

  ii       for Yankee      Atomic    in year 2?

  12              A.      Yes, it iso

  13              Q.      Mr. Pollog,     how are utilities        supposed      to

          uss the information          in table 3.1?

  15              A.      They would use that info-~mation               for filling

  16      out and submitting          their delivery        commitment

  17      schedules.

  18              Q.      Let me back up a second           to the highlighted

  19      for Yankee       Atomic.    If there’s      no entry,     if there’s

  2O      no numerical       entry    in a given     year for, say,        Yankee

  21      Atomic,      at the fifth      entry   over,   there’s    two dashed

  22      lines,       what is meant     by that?

  23           A.         That means they would have no allocation                    in

  2~_     that given year.

  25          Q.          Thank   you.   Andspecifically,          how    were

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                                                                                                                                     3916
                               utilities           told       to     use       the     ~llocations              in    this       chart

                    2          to submit           their        DCSes?

                        ....     A.               They     were          told     to       use    allocations               as     the

                               basis       for     submitting                 their       delivery         commitment

                               schedules           in     any       given       year.           The     total        sum    of    the

       -            6      MTUs        you        would       ask        for    in    your        DCS    should         equal       what

                           you        were        given       that       year        in    this        table     of    the       ACR.

                                      Q.            Can       we     have’s          Exhibit           30.001?        Mr.    ~ollog,

                           do you           recognize              what’s        been       marked        as     Defendant’s

.. .       .    I0.        Exhibit           30.001?

                !!                    A.            Yes       I do.

                12                    Q.            Could          you    tell        the Court          what        this    is?

                13                    A.            This       is    a letter             from        Michael        Dormer

                14         transmitting                  the       DCS    instructions                  to Mr~        Buchheit~

               15          who        was    manager           of     fuel       procurement              for        New    Hampshire

               16          Yankee           division           of     the       public          service         of    New

               17          Hampshire.

               18                     Q.            And       what       was    the       purpose        of     these

               19          instructions?

               20                  A.              This        was       to    provide           the    contract           holders

               21          instructions                  on    how       to     complete           their        delivery

               22          commitment              schedules.

               23                  Q,              Could        we       go back          to Defendant’s               Exhibit          24.

               24          Table           3.1,     page        nine?          Mr.     Po!log,           how     come       this

               25          chart           presents           information                 for    l0     years?

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                                                                                                                    4060
       1   don’t        know     why    that        clause           was     placed        in the          DCS

           instructions,               you     think       one        possible           reason           is   that

           DOE,     if    DOE,       it was         to    provide            for    a situation                where

           if     DOE    had     more      capacity             to    a!locate~            it    could         have

    5      increased           the     number        of    MTUs           that     particular

    6      purchasers          would         be allocated?

    7             A.           That’s         certainly,               could       be used           in

    8      consideration               with      this      clause,           yes.

    9              Q.          Well,         that’s        one       possible         explanation                you

   i0      gave     at    your       deposition,            do you            recall       that?

   I!             A.           Not      specifically                 at this        point        in time.

   12             Q.             You    do     thi~       that’s            one    possible

   13      explanation?

   14             A.           Yes,        i think         that        could       certainly              be   used

   15      in    considering            this     clause,             yes.

   !6             Q.           That        there      might          be     additional           capacity

   17      later        to allocate           it?

   18             A.           That’s         certainly              consideration,                  yes.

  19              Q.           And      that     appears             in fact        to be        what

  20       happened        with        this      July       2004          ACR.      There’s           additional

  21       al!ocati.on           that      the      DOE    wishes            to allocate,

  22       additional          capacity            that     the        DOE        wishes        to    allocate,

  23       and    now,     they’re           asking        for        new     DCSes,       is        that      right?

  24              A.           The      acceptance              rates        in    the     2000       ACR      are

  25       greater        than       the     ones        that        were     in    the    ’91        ACR      or    ’95

                               Herita~           .....
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                                                                                4061
           ACR, yes,     that is correct.

                         So there’s      more capacity    to allocate?

    3           A.       The acceptance      rates    and, hence,    the

    4      capacity     is larger    in the 2000 ACR than it was in the

    5      earlier     one, yes.

    6 ¯         Q.        Does that mean there’s more capacity             to

            allocate    now?

                A.       Yes, I would say so.

                Q.        So that’s consistent        with your one possible

   I0      use of that sentence,          maybe there    will be more

   I!      capacity    to allocate       later,   we have more capacity          to

   12      allocate     later in the 2004 ACR, right?

   13           A.        The capacity      allocation   is larger in the

  ¯ 14     2000 ACR, yes, that’s          true.

   15           Q.        Now, also just very briefly,          on the

           question     of shutdo~vn      priority,   you do agree that it’s

   17      always     possible    that   DOE may grant prior{ty       in the

   18       future,    right?

   19           A.        DOE does allow DOE to grant shutdo~n

   20      priority     to reactors,      yes, that is true.

   21           Q.        You agree that it’s always          possible     that

   22      DOE may grant        that in the future,      right?

   23           A.       Yes.

   24           Q.        And" you also mentioned in your deposition,

   25       I just    want to make sure this is true,           that Homeland

                          Herits~    ~ .... ~      ~oration
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                                                                        (1) st~r’a.g,~, capacitylimit containedIn the NWPA
                                                                                                                        far

                                                                        (3) ~e accep~nce rates        ~ssume co~cem~t

                                                                        (s) If   ~a cu~ant i~nkag~ ~n MRS

                                                                        ~ a~oriza~lan am mainline, ~ is esti~l~        ~t



 (10) envlsionin~e~
                  different fac~l(ieSo
 (1~) O. Andoculd I ask you to turn lo the next




                              Page 4073
 (1)   A, Yes, I do.
 (2)   Q. CouldI ask you to turn to pagefive,
 (3} please?
 (4)   A. YP-S.I’m at p~gefive.
 (5)   Q. Mr. PoIIog, do youhave an understanding,
 (6) basedon the section in Ihls document
                                        that Mr. Stouck
 (7} askedyou1o read, what~h~sdocument     assumedin




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     MS.SULLIVAN:Orr~moment.
                          YourHonor.
                                                   ~1~matptovldesDOEthat optionto beeither approving
                                                   (la} or o-[sappmv~ng,
                                                                     ~snlthat con~ct?




     MS.SULLIVAN:Hang
                    ¢x~jus[ a m~nu~e.

     MS.SULLP#AN:Letsdo




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                                                 (~I|    A. Y~s,I am.
                                                 (22}    Q, Istheresomething
                                                                          in the contract




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